Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 1 of 6 PageID #: 470
Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 2 of 6 PageID #: 471
Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 3 of 6 PageID #: 472
Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 4 of 6 PageID #: 473
Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 5 of 6 PageID #: 474
Case 5:06-cr-00053-FPS-JES Document 170 Filed 02/20/09 Page 6 of 6 PageID #: 475
